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                                         January 4, 2023

  By Mail/Email
  C. Carter, Warden
  14601 Burbridge Rd, SE
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  CUM-ExecAssistant@bop.gov
  301-784-1000

          Re:   Request for Compassionate Release
                Vittorio Amuso, Reg. No. 38740-079

  Dear Warden Carter:
        This letter is respectfully submitted on behalf of our client, Vittorio
  Amuso, Reg. No. 38740-79, seeking Mr. Amuso’s compassionate release
  under 18 U.S.C. § 3582(c)(1)(A) 1 and Bureau of Prisons (BOP) Policy
  Statement 5050.50 § 4(a) (“New Law” Elderly Inmates). Mr. Amuso meets
  the criteria for early release under 18 U.S.C. § 3582(c)(1)(A) and BOP PS
  5050.50 § 4(a), 2 because his advanced age, chronic medical conditions,
  time served, and rehabilitation, when considered together, provide
  extraordinary circumstances that warrant compassionate release and
  otherwise satisfy the criteria set forth by the BOP as it pertains to the
  early release of elderly inmates.


  1
      First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194 (2018).
  2
   Mr. Amuso meets the criteria for early release under BOP PS 5050.50 §
  4(a), because he was sentenced for an offense that occurred on or after
  November 1, 1987, is over the age of seventy (70) years old, and he has
  served more than thirty (30) years of his term of imprisonment.
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        Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) and (ii), an inmate’s
  sentence should be reduced if either there exist extraordinary and
  compelling reasons to warrant such a reduction or the defendant is at least
  seventy (70) years of age, has served at least thirty (30) years in prison for
  the offenses for which he is currently imprisoned, and the BOP has
  determined that he is no longer a danger to the safety of any other person
  or the community. Likewise, under BOP PS 5050.50 § 4(a) (“New Law”
  Elderly Inmates), an inmate’s sentence should be reduced where the
  defendant has been sentenced for an offense that occurred on or after
  November 1, 1987, is over seventy (70) years of age, and has served thirty
  (30) years or more of his term of imprisonment.
        Mr. Amuso is 88 years old and suffers from many serious medical
  ailments. Mr. Amuso has also served more than 30 consecutive years of
  imprisonment. Mr. Amuso’s rehabilitation is well-established, evidenced
  by his exemplary prison record and many institutional achievements.
  During his lengthy incarceration, Mr. Amuso has not committed a single
  infraction of the BOP’s inmate regulations. As of this date, Mr. Amuso’s
  current recidivism risk is minimal, and his release would present no
  danger to the community. Overall, Mr. Amuso “age, chronic medical
  conditions, time served, and rehabilitation, when considered together,
  warrant compassionate release.” United States v. Grecco, No. 89-00250,
  2022 U.S. Dist. LEXIS 209668, at *9 (D.N.J. Nov. 18, 2022);
        Most notably, Mr. Amuso’s current health is critically unstable and
  requires complex chronic care. In this regard, Mr. Amuso’s health has
  rapidly declined as he advances in age, and conventional treatment
  promises no substantial improvement to his medical conditions. The
  multitude of severe chronic medical conditions Mr. Amuso suffers from
  has substantially diminished his ability to provide self-care within a
  correctional facility. Indeed, Mr. Amuso’s quality of life has dramatically
  deteriorated in the past several months due to the progression of his
  chronic disease and prior COVID-19 infections. Given Mr. Amuso’s
  advanced age, the prognosis is admittedly grim.
        The only effective way to deliver medical care to Mr. Amuso is
  outside a correctional facility where he can receive needed care and
  monitoring. As the BOP is aware, Mr. Amuso now requires special medical
  accommodations to address pain management and mobility impairments
  due to the progression of his chronic arthritis. Mr. Amuso’s recent bouts
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  with rheumatoid arthritis have been so overwhelmingly debilitating and
  exacerbated by the conditions of his confinement that his quality of life is
  negligible at best. Not only has Mr. Amuso’s chronic arthritis caused him
  to routinely suffer excruciating pain in the affected parts of his body, but
  also it has rendered him largely immobile. In this regard, Mr. Amuso can
  no longer walk long distances within the prison, and medical assistance is
  needed to provide his travel. The osteoarthritis of the hip and knee is also
  so severe and painful in Mr. Amuso’s case that he can no longer function
  or provide appropriate self-care within a correctional facility—as he
  suffers from severe functional disabilities and sleep disturbances.
         Essentially, Mr. Amuso’s current circumstances render him doomed
  to “medical purgatory” that “serving out the rest of his life sentence would
  be greater than necessary to serve the purposes of 18 U.S.C. § 3553(a)(2).”
  United States v. Wright, No. 2:96-cr-80876-3, 2020 U.S. Dist. LEXIS
  198340, at *11 (E.D. Mich. Oct. 26, 2020) (citing United States v. Wong
  Chi Fai, No. 93-cr-1340, 2019 U.S. Dist. LEXIS 126774, 2019 WL 3428504,
  at *4 (E.D.N.Y. July 30, 2019)); see also United States v. McGraw, No. 2:02-
  cr-00018-LJM-CMM-01, 2019 U.S. Dist. LEXIS 78370 (S.D. Ind. May 9,
  2019) (granting compassionate release to a defendant that “served much
  of his sentence while seriously ill and in physical discomfort”).
         According to the CDC, rheumatoid arthritis “has many physical
  and social consequences and can lower quality of life. It can cause pain,
  disability, and premature death.” See Rheumatoid Arthritis (RA),
  Centers for Disease Control and Prevention, National Center for Chronic
  Disease Prevention and Health Promotion, available at
  www.cdc.gov/arthritis/basics/rheumatoid-arthritis.html (last visited
  January 3, 2023). Rheumatoid arthritis (RA) “is an autoimmune and
  inflammatory disease” which causes the immune system to attack
  healthy cells in the body by mistake, “causing inflammation (painful
  swelling) in the affected parts of the body.” Id. “RA mainly attacks the
  joints, usually many joints at once. RA commonly affects joints in the
  hands, wrists, and knees. In a joint with RA, the lining of the joint
  becomes inflamed, causing damage to joint tissue. This tissue damage
  can cause long-lasting or chronic pain, unsteadiness (lack of balance),
  and deformity (misshapenness). RA can also affect other tissues
  throughout the body and cause problems in organs such as the lungs,
  heart, and eyes.” Id.
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         It is also well established that rheumatoid arthritis is a severe
  disease for an elderly person, like Mr. Amuso, who is confined to a prison
  setting. See United States v. Beard, No. 1:16-cr-285-SCJ-JKL, 2020 U.S.
  Dist. LEXIS 246841, at *2-3 (N.D. Ga. June 25, 2020) (“Rheumatoid
  arthritis is a chronic inflammatory disorder that can damage a wide
  variety of body systems, including the skin, eyes, lungs, heart, and blood
  vessels.”); United States v. McDuffie, 451 F. Supp. 3d 281, 283 (S.D.N.Y.
  2020) (an individual suffering from rheumatoid arthritis may be
  especially vulnerable to COVID-19 both because the condition reflects a
  malfunction of the immune system and because the medication used to
  treat it has the effect of suppressing the body's natural immune
  response); United States v. Campagna, No. 16-CR-78, 2020 U.S. Dist.
  LEXIS 54401, 2020 WL 1489829, at *3 (S.D.N.Y. Mar. 27, 2020)
  (“Defendant's compromised immune system, taken in concert with the
  COVID-19 public health crisis, constitutes an extraordinary and
  compelling reason.”).
         Several studies have shown that a prison setting is inappropriate
  for elderly persons like Mr. Amuso, who suffer from severe chronic
  diseases like rheumatoid arthritis and prior COVID-19 infection. See
  Jason Laday, Hard time and health care: Challenges in caring for the
  prison population, Healio Rheumatology (October 19, 2020)3; Boucher
  NA, Van Houtven CH, Dawson WD, Older Adults Post-Incarceration:
  Restructuring Long-term Services and Supports in the Time of COVID-
  19, J Am Med Dir Assoc. (March 22, 2021) (“Prison accelerates aging
  such that the prison population develops chronic illness 10 to 15 years
  earlier than community counterparts.”); United States v. Taveras, 436 F.
  Supp.3d 493, 500 (E.D.N.Y. 2006) (life expectancy within federal prison
  is considerably shortened); see also Jaul E, Barron J., Age-Related
  Diseases and Clinical and Public Health Implications for the 85 Years
  Old and Over Population, Front Public Health (December 11, 2017).
        Specifically, “chronic musculoskeletal conditions require
  management by experienced multidisciplinary teams, which are rarely
  accessible within prisons.” The Lancet Rheumatology, Rheumatology
  care in prisons: cruel and unusual punishment?, Volume 2, Issue 12

  3
   Available at www.healio.com/news/rheumatology/20201009/hard-time-
  and-health-care-challenges-in-caring-for-the-prison-population.
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  (December 1, 2020).4 Likewise, “[m]anagement of chronic
  musculoskeletal conditions is challenging under the best of medical
  circumstances, and individuals who are incarcerated face a multitude of
  additional challenges.” Id. Specially,
        [o]ne hurdle is the prison environment itself. Designed and
        constructed to prevent free movement, prison environments
        leave many patients unable to perform prescribed exercise
        regimens. General mobility can also be challenged by a
        predominance of narrow corridors and stairs (often without
        disabled access)….
        Another formidable barrier to high-quality rheumatology
        care in prison systems is access to appropriate medications.
        Drugs for management of rheumatic diseases—some of the
        most expensive on the market—must be ordered from a
        strict formulary decided by pharmacy benefit managers who
        often have little to no rheumatological experience. As such,
        many medications are simply not available.
  Id.
        As for prior and long-term COVID infection, such disease also
  renders those affected, like Mr. Amuso, more vulnerable to physical and
  mental regression, requiring specialized care by doctors and therapists.
  This is especially true for elderly persons living in highly restrictive
  confinement and otherwise suffering from other chronic illnesses that
  may mask long-term COVID symptoms. Indeed, recent medical studies
  have shown that prior COVID-infection can exacerbate and contribute to
  the progression of other present chronic diseases. See John Hopkins
  Medicine, COVID ‘Long Haulers’: Long-Term Effects of COVID-195
  (“According to the CDC, the most common lasting symptoms are fatigue,
  shortness of breath, cough, joint pain and chest pain. Other issues
  include cognitive problems, difficulty concentrating, depression, muscle
  pain, headache, rapid heartbeat and intermittent fever.”); id. (“After

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   Available at www.thelancet.com/journals/lanrhe/article/PIIS2665-
  9913(20)30387-8/fulltext.
  5
   Available at www.hopkinsmedicine.org/health/conditions-and-
  diseases/coronavirus/covid-long-haulers-long-term-effects-of-covid19.
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  surviving COVID-19, some people are left with lingering anxiety,
  depression and other mental health issues.”); id. (“If the coronavirus
  infection caused kidney damage, this can raise the risk of long-term
  kidney disease and the need for dialysis.”); id. (“Some individuals
  develop medium to long-term symptoms following COVID infection,
  including brain fog, fatigue, headaches and dizziness.”); id. (“Long-term
  COVID-19 symptoms can be similar to signs of other disease, so it is
  important to see your doctor and rule out other problems, such as cardiac
  issues or lung disease.”).
        By any measure, it is clear that compassionate release should be
  sought by the Bureau of Prisons when confronted with an elderly inmate
  like Mr. Amuso, who is of advanced age and suffers from numerous
  chronic diseases and prior COVID-19 infections that cause physical and
  cognitive impairments that hamper the inmate’s ability to provide self-
  care in a correctional setting. Such circumstances fall squarely within
  the criteria of Application Note 1(A)(ii) and (B), which provides that
  extraordinary and compelling reason exists to warrant compassionate
  release if the defendant is -
        (I) suffering from a serious physical or medical condition,
        (II) suffering from a serious functional or cognitive
        impairment, or
        (III) experiencing deteriorating physical or mental health
        because of the aging process,
        that substantially diminishes the ability of the defendant to
        provide self-care within the environment of a correctional
        facility and from which he or she is not expected to recover.
        (B) Age of the Defendant. The defendant (i) is at least 65
        years old; (ii) is experiencing a serious deterioration in
        physical or mental health because of the aging process; and
        (iii) has served at least 10 years or 75 percent of his or her
        term of imprisonment, whichever is less.
  18 U.S.C.S. app. § 1B1.13 (LexisNexis, Lexis Advance through Public
  Law 117-248, approved December 20, 2022).
        Indeed, BOP PS 5050.50(3) has made explicit that compassionate
  release should be made available to inmates suffering from a debilitated
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  medical condition. Specifically, the BOP must give “RIS consideration
  …to inmates who have an incurable, progressive illness or who have
  suffered a debilitating injury from which they will not recover.” Id. In
  this regard, the BOP has defined a debilitated medical condition to
  include the circumstance where, as in Mr. Amuso’s case, “an inmate is
  capable of only limited self-care and is confined to a bed or chair for more
  than 50% of waking hours.” Id.
         Likewise, the BOP has ratified that compassionate release should
  be considered for elderly inmates who meet specific other criteria. See
  BOP PS 5050.50(4). Specifically, the BOP has explicitly noted that
  elderly inmates, like Mr. Amuso, should be considered for compassionate
  release when they are 70 years or older and have served 30 years or
  more of their term of imprisonment. The BOP has further specified that
  such elderly inmates are particularly worthy of consideration for
  compassionate relief if they also present severe or chronic medical
  conditions related to the aging process, experience deteriorating mental
  or physical health that substantially diminishes their ability to function
  in a correctional facility, and conventional treatment promises no
  substantial improvement to their mental or physical condition. Id.
          Notably, Mr. Amuso meets all of the criteria set forth by the BOP
  regarding an elderly inmate’s qualification for compassionate release.
  See also United States v. Perez, 2020 U.S. Dist. LEXIS 45635 (D. Kan.,
  March 11, 2020); United States v. Riggins, No. 06-700-1, 2022 U.S. Dist.
  LEXIS 41444, at *6 (E.D. Pa. Mar. 9, 2022) (noting that eligibility for
  compassionate release includes inmates that are over 70, have served
  more than 30 years of their term of imprisonment and were sentenced
  after November 1, 1987); U.S.S.G. § 1B1.13 cmt. n.1B (“Additionally,
  extraordinary and compelling reasons may exist where ‘[t]he defendant
  (i) is at least 65 years old; (ii) is experiencing a serious deterioration in
  physical or mental health because of the aging process; and (iii) has
  served at least 10 years or 75 percent of his or her term of imprisonment,
  whichever is less’”).
        Finally, it is noteworthy that Mr. Amuso has many family
  members willing to care for him upon his early release and serve as his
  custodian. Since his incarceration, Mr. Amuso has maintained strong
  ties and positive relations with the community and his loved ones,
  including his children. Mr. Amuso has also kept a strong religious faith,
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  and he has overwhelmingly exhibited good conduct during the past 30-
  plus years of his imprisonment. At 88 years of age, Mr. Amuso is no risk
  to the public, and his continued confinement serves no legitimate
  penological interest. See U.S. Sent’g Comm’n, The Effects of Aging on
  Recidivism Among Federal Offenders6; see also United States v. Piggott,
  No. 94 Cr. 417, 2022 U.S. Dist. LEXIS 5293, 2022 WL 118632, at *3
  (S.D.N.Y. Jan. 12, 2020) (“It is also well-established that recidivism
  decreases significantly with age.”); United States v. Scott, 239 F. Supp.
  3d 629, 635 (E.D.N.Y. 2017) (“[Defendant's] strong family support and
  good job prospects make recidivism unlikely.”); United States v. Bass,
  462 F. Supp. 3d 176, 189 (N.D.N.Y. 2020) (citing the Sentencing
  Commission's guidelines to support the unlikelihood of the defendant's
  recidivism given his advanced age, and noting defendant's “mostly clean
  disciplinary record from his time in prison” and that defendant's ability
  to “largely follow[] the rules while incarcerated suggests that he will do
  so once released, which minimizes the danger he poses to the
  community”).
        Indeed, notwithstanding the underlying offense conduct alleged in
  Mr. Amuso’s case,7 his advanced age, current medical circumstances,
  rehabilitation, and long imprisonment (30-plus years) overwhelmingly
  compel that compassionate release to be afforded. See, e.g., United
  States v. Underwood, No. 88 Cr. 822, 2021 U.S. Dist. LEXIS 8378, 2021
  WL 3204834, at *1 (S.D.N.Y. Jan. 15, 2021) (granting compassionate
  release motion where at least five, brutal murders were committed at
  defendant's direction); United States v. Ramirez, 571 F. Supp. 3d 40, 42,
  52 (S.D.N.Y. Nov. 10, 2021) (reducing forty-eight-year sentence by eight
  years where the defendant was the leader of a drug trafficking
  organization and was personally involved in two murders); United States
  v. Rodriguez, 492 F. Supp. 3d 306 (S.D.N.Y. 2020) (reducing sentence to
  thirty years where defendant participated in torture and murder of

  6
   Available at www.ussc.gov/sites/default/files/pdf/research-and-
  publications/research-publications/2017/20171207_Recidivism-Age.pdf.
  7
   Since Mr. Amuso’s conviction, new evidence has also emerged
  demonstrating that much of the alleged conduct was attributable solely
  to his co-defendant Anthony Casso and that Mr. Amuso had no
  knowledge of or control over Casso’s conduct at such time.
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  government informant); Wong Chi Fai, 2019 U.S. Dist. LEXIS 126774,
  2019 WL 3428504, at *3 (granting compassionate release to 65-year-old
  gang leader who had engaged in multiple murder conspiracies and
  served only 26-years of a term of life imprisonment); United States v.
  Rice, 2020 WL 4505813, at *4 (S.D.N.Y. Aug. 5, 2020) (granting
  compassionate release despite defendant's conviction for “very serious
  crimes” where, “given [d]efendant's advanced age and serious health
  problems, he is significantly less likely to recidivate”); United States v.
  Clausen, Case No. 00-CR-291, 2020 WL 4601247, at *2 (E.D. Pa. Aug. 10,
  2020) (reducing 213-year sentence to time-served after more than 20
  years imprisonment in part because defendant “maintained a clean
  disciplinary record since 2003”); United States v. Panton, Case No. 89-
  CR-346 (LAP), 2020 WL 4505915, at *7 (S.D.N.Y. Aug. 4, 2020) (reducing
  life sentence to time-served after close to 30 years in prison in part
  because defendant had “only six disciplinary infractions over almost
  thirty years in jail,” none of which “involved violence, weapons, gangs,
  narcotics, alcohol, or BOP staff”).
         Overall, the records maintained by the BOP make clear that Mr.
  Amuso’s current circumstances and dire health conditions warrant
  compassionate release under 18 U.S.C. § 3582(c)(1)(A) and BOP PS
  5050.50 § 4(a). Collectively, Mr. Amuso’s advanced age, declining health,
  service of more than 30 years of imprisonment, and rehabilitation,
  overwhelmingly establish that a reduction in his sentence is warranted at
  this time.
      For the foregoing reasons, it is respectfully requested that Mr.
  Amuso be granted compassionate release.

                                      Respectfully submitted,


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                                      Counsel to Vittorio Amuso



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